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    5
    6 Attorney for Plaintiff,
        LIBERTY MEDIA HOLDINGS, LLC
    7
    8                               UNITED STATES DISTRICT COURT

    9                             SOUTHERN DISTRICT OF CALIFORNIA

   10                                   )                   Case No. 10-CV-1810-JLS-WMC
      LIBERTY MEDIA HOLDINGS, LLC d/b/a )
   11 CORBIN FISHER                     )                   DECLARATION OF ERIC GAPP IN
                                        )                   SUPPORT OF MOTION FOR DEFAULT
   12 Plaintiff,                        )                   JUDGMENT AGAINST DEFENDANTS
                                        )                   PORNILOVE.NET AND COREY
   13 vs.                               )                   DEBARROS
                                        )
   14 PORNILOVE.NET, COREY DEBARROS, )                      Hearing:
      and JOHN DOES 3-1000              )                   Time:
   15                                   )                   Courtroom:
      Defendants                        )
   16                                   )
                                                                                  (1)
   17
   18          I, Eric Gapp, declare under penalty of perjury that:

   19         1.       I am the Vice President of Intellectual Property Management for Plaintiff Liberty

   20 Media Holdings (Liberty).
   21         2.       Liberty produces and distributes high quality adult entertainment films using

   22 highly talented performers, directors, cinematographers, lighting technicians, set designers,
   23 editors, and web developers, and uses the high quality equipment every step of the way. It is the
   24 custom and practice to register each and every film with the United States Copyright Office.
   25         3.       Liberty has also registered the trademarks, CORBIN FISHER ® and

   26 EXCELSIOR PRODUCTIONS ®, each of which appear throughout the Works.
   27         4.       Additionally, each video, including the Works, released by Liberty contains a

   28 statement pursuant to 18 U.S.C. § 2257, which displays our trademark, CORBIN FISHER ®, the
                                                        1
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    1 title of the production, a statement that each model is over the age of 18, and that such age
    2 records are kept at Plaintiff’s San Diego, California address.
    3          5.      In December 2009, I became aware of the websites, www.pornilove.org and

    4 www.pornilove.net, and began reviewing and monitoring the Pornilove blogs, Facebook page,
    5 and Yahoo! group. During this review, I discovered various Liberty works being displayed and
    6 distributed by Defendants. I documented a number of these infringements, regularly sent DMCA
    7 notices of infringement out regarding these infringements to the blogs servers and other related
    8 entities, and compiled a list of infringements.
    9          6.      A true and correct copy of the list infringements that I documented is attached to

   10 this Motion as Exhibit 13.
   11          7.      True and correct copies of screenshots and/or printouts of the infringements

   12 appear as Exhibit 14 to this Motion.
   13          8.      The sole purpose of the Pornilove network appears to be to unlawfully copy,

   14 publish, and distribute the copyrighted works of others.
   15          9.      A comprehensive list of the Pornilove related blogs and sites which I was able to

   16 locate appears in Paragraph 12 of this Motion. There were likely many other Pornilove blogs
   17 which I never became aware of.
   18          10.     True and correct copyright certificates for each of the works listed appear as

   19 Exhibit 15 to this Motion.
   20          11.     Plaintiff did not authorize Defendants to duplicate and display and/or distribute

   21 any of its works, nor would Liberty ever contemplate doing so.
   22          12.     Online piracy, including the free distribution of Liberty’s works by blogs such as

   23 Pornilove, is one of the greatest threats faced by Plaintiff, and the adult entertainment industry as
   24 whole.
   25 ///
   26 ///
   27 ///
   28 ///
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                                              Motion for Default Judgment
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    1         13.     I have reviewed the time entries for work on this matter and believe that the rate

    2 billed by Mr. Randazza are in line with someone of his experience and caliber and that the
    3 amount of billable time spent on this matter is more than reasonable.
    4
    5         Signed on July 19, 2011 in Las Vegas, NV.

    6
    7                                                       _________________________

    8                                                       Eric Gapp

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                                             Motion for Default Judgment
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    1                                CERTIFICATE OF SERVICE

    2         I hereby certify that the foregoing document was filed using this Court’s CM/ECF system

    3 on July 19, 2011. A copy of this motion has been sent via US Mail to Corey Debarros and
    4 Pornilove.net.
    5 Dated: July 19, 2011                        Respectfully submitted,

    6                                             s/ Marc Randazza
                                                  Marc J. Randazza, SBN 269535
    7                                             Randazza Legal Group
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    8                                             San Diego, CA 92103
    9                                             888-667-1113
                                                  305-437-7662 (fax)
   10                                             mjr@randazza.com

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